                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF PENNSYLVANIA



                                        :
UNITED STATES OF AMERICA                :
                                        :       CRIMINAL ACTION
             v.                         :
                                        :
 ROBERT HENON                           :       NO. 19-64-2
                                        :
                                        :


                                      ORDER


      AND NOW, TO WIT, this            day of       2020, it is hereby

ORDERED and DECREED that the Defendant's Motion to Continue Trial is granted.

                                        BY THE COURT:



                                        ________________________________
                                                                     J.
                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL ACTION
               v.                             :
                                              :
  ROBERT HENON                                :           NO. 19-64-2


            DEFENDANT ROBERT HENON’S MOTION TO CONTINUE TRIAL

       Defendant, by his attorney, BRIAN J. MCMONAGLE, Esquire, petitions this Honorable

Court to continue his trial and states in support thereof the following:

       1.      Defendant’s trial was recently scheduled to commence trial on October 26, 2020.

               The trial is expected to last 4-7 weeks.

       2.      Defense Counsel was previously attached to commence a jury trial in the case of

               U.S.A. v. Avrom Brown, et al, on December 7, 2020, before the Honorable Gene

               E.K. Pratter, a multi- defendant case scheduled to last 4-6 weeks.

       3.      As a result of the above-mentioned conflict, the defendant requests that the above-

               captioned case be rescheduled.



       WHEREFORE, for the reasons stated above, the defendant requests that the trial date be

rescheduled.

                                              Respectfully submitted,



                                              _s/BRIAN J. MCMONAGLE
                                              BRIAN J. MCMONAGLE, ESQUIRE
                               CERTIFICATE OF SERVICE


       BRIAN J. MCMONAGLE, Esquire hereby certifies that a true and correct copy of the

within Motion to Continue Sentencing has been electronically filed and served upon the

Honorable Jeffrey L. Schmehl, Assistant United States Attorney Frank Costello, and all Counsel.




                                            s/ BRIAN J. MCMONAGLE
                                            BRIAN J. MCMONAGLE, Esquire




DATED: 7/28/20
